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 1                                   UNITED STATES DISTRICT COURT
 2                                  NORTHERN DISTRICT OF CALIFORNIA
 3

 4    IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 4:22-MD-03047-YGR
      ADDICTION/PERSONAL INJURY
 5    PRODUCTS LIABILITY LITIGATION                     MDL No. 3047
 6

 7    This Document Relates to:
      Rrandw Poharte and Tanaw Poberts,                 AMENDED MASTER SHORT-FORM
 8    Brandy      ROBERTS
      BRANDYRoberts         andand  TONEY
                                  Toney   Roberts,
       nate eteratiyyAnn   Rrandu    Pohorte     as     COMPLAINT AND DEMAND FOR
      ROBERTS,
      individually,
           ~
                     individually,
                       and  Brandy      BRANDY
                                   andRoberts,   as
 9    ROBERTS, as the    ne Personal        of the of   JURY TRIAL
      Successor-In-interest        of‘ative
                                      the Estate
10    Englyn Roberts JL
      Representative of the Estate of Englyn
      Roberts

11    Member Case No.:
12    4:22-cv-04210-YGR
      4:22-cv-04210-YGR
13

14           The Plaintiff(s) named below file(s) this Short-Form Complaint and Demand for Jury Trial
15   against the Defendants named below by and through the undersigned counsel. Plaintiff(s)
16   incorporate(s) by reference the allegations, claims, and relief sought in Plaintiffs’ Master Complaint
17   (Personal Injury) (“Master Complaint”) as it relates to the named Defendants (checked-off below),
18   filed in In Re: Social Media Adolescent Addiction/Personal Injury Products Liability Litigation,
19   MDL No. 3047 in the United States District Court for the Northern District of California.
20   Plaintiff(s) file(s) this Short-Form Complaint as permitted by Case Management Order No. 7.
21           As necessary herein, Plaintiff(s) may include: (a) additional Causes of Action and
22   supporting allegations against Defendants, as set forth in paragraph 11 in additional sheets attached
23   hereto; and/or (b) additional claims and allegations against other Defendants not listed in the Master
24   Complaint, as set forth in paragraph 7 (see n. 18) and may attach additional sheets hereto.
25           Plaintiff(s) indicate by checking boxes below the Parties and Causes of Actions specific to
26   Plaintiff(s)’ case.
27           Plaintiff(s), by and through their undersigned counsel, allege as follows:
28

                                                                                 MASTER SHORT-FORM COMPLAINT
                                                                                        Case no. 4:22-md-03047-YGR
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 1   I.       DESIGNATED FORUM
 2            1. For Direct Filed Cases: Identify the Federal District Court in which the Plaintiff(s)
 3                 would have filed in the absence of direct filing:
 4                      Not applicable
                            applicable
 5            2. For Transferred Cases: Identify the Federal District Court in which the Plaintiff(s)
 6                 originally filed and the date of filing:
                       RilaAwtlA. Awan. PNiAte: at Af OAT:LARA AR OAR Mun nAntin ann PNR AAA Daan
 7                     Northern     District of California, San Francisco Division, July 20, 2022 ~ -
                       ________________________________________________________________
 8   II.      IDENTIFICATION OF PARTIES
 9            A.      PLAINTIFF
10            3. Plaintiff: Name of the individual injured due to use of Defendant(s)’ social media
11                 products:
                        —-   1.              —™        1
12                      Englyn  Roberts.)
                        E-nglyn Roberts
                                                       AAI                                     AI IN
13                                      14 (deceased)           fete Powe

              4. Age at time of filing: _____________________________________
                                                                                    ~~~-_ =        ary




14            5. City(ies) and state(s) where Plaintiff primarily used Defendants’ platforms:
15                      New Iberia,
                            lberie Louisiana
                                    Lh

                                                   c


16            6. Last Name and State of Residence of Guardian Ad Litem, if applicable:
17                    Not applicable
                      _________________________________________________________________
18            7. Name of the individual(s) that allege damages for loss of society or consortium
19                 (Consortium Plaintiff(s)) and their relationship to Plaintiff, if applicable:
                        _=          1        md        1:                   /                      ‘         —       te   1.     <       1         ‘
                        Brandy Roberts  (parent)) and Toney
                               Roberts’ (parent)            Roberts) (parent)
                                                      Toney Roberts  (parent))
                                         '                             .                                         '                   .
20

21            8. Survival and/or Wrongful Death Claims, if applicable:
22                    (a)         Name of decedent and state of residence at time of death:
                                  r=—         ;1            —      .            .          .             .
23                                Englyn  Roberts, Louisiana
                                  Eznglyn Roberts,                                     ’


24                    (b)         Date of decedent’s death:
                                  ~~    «     .
                                                   , ~ wat
25                                September 7, 2020
                                               2020
26                    (c)         Name and capacity (i.e. executor, administrator, etc.) of Plaintiff(s)
27                                bringing claim for decedent’s wrongful death:
                                  —           :
                                  Deana, awaamahs' MARK. AutatA
                                  Brandy
                                  ~~                            DAvn ARA~ _—
                                                   Roberts, Personal      PMAWwvA a RAREAaA
                                                                            RepresentativeEA
                                                                                            .
28                                ___________________________________________________________
                                                                                                                     MASTER SHORT-FORM COMPLAINT
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 1       9. At the time of the filing of this Short-Form Complaint, Plaintiff(s) are residents and
 2            citizens of [Indicate State]:
                                        .    .

 3                              Louisiana
                                  yA   mrs   i   Aewar

                                _________________________________________________________
 4       B.         DEFENDANT(S)
 5       10. Plaintiff(s) name(s) the following Defendants in this action [Check all that apply]:
 6         META ENTITIES                                        TIKTOK ENTITIES




                                                                         [8] IS] [8] [8]
                     [s]
              a




                                                                    [s]


                                                                    (SJ(SJ
 7                |v|
                   ✔ META PLATFORMS, INC.,                        ✔ BYTEDANCE, LTD
                  ()




                                                                    [S]
                                                                    S|
                                                                   [8]
 8                formerly known as Facebook, Inc.                ✔ BYTEDANCE, INC
                      (8){is
                          [sl




                                                                      [x]
                                                                    [x]
 9                ✔ INSTAGRAM, LLC                                ✔ TIKTOK, LTD.
              IS]




                                                                    [s] [3]
                                                                    [s]
                  II] J




                                                                    [SJ
10                ✔ FACEBOOK PAYMENTS, INC.                       ✔ TIKTOK, LLC.
              [SJfF




                                                                     Ls]
                 [s




11                ✔ SICULUS, INC.                                 ✔ TIKTOK, INC.
              IS]




12                ✔ FACEBOOK OPERATIONS, LLC




                                                                             [JE]
13         SNAP ENTITY                                          GOOGLE ENTITIES


                                                               [[| [|
                     [s]




14
                  ✔ SNAP INC.                                         GOOGLE LLC
15
                                                                      YOUTUBE, LLC
16
           OTHER DEFENDANTS
17

18        For each “Other Defendant” Plaintiff(s) contend(s) are additional parties and are liable
          or responsible for Plaintiff(s) damages alleged herein, Plaintiffs must identify by name
19        each Defendant and its citizenship, and Plaintiff(s) must plead the specific facts
          supporting any claim against each “Other Defendant” in a manner complying with the
20        requirements of the Federal Rules of Civil Procedure. In doing so, Plaintiff(s) may
21        attach additional pages to this Short-Form Complaint.

22

23                 NAME                                        CITIZENSHIP

24            1

25            2

26            3

27            4

28            5

                                                                                           MASTER SHORT-FORM COMPLAINT
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 1       C.     PRODUCT USE
 2      11. Plaintiff used the following Social Media Products that substantially contributed to their
 3          injury/ies (check all that apply, and identify approximate dates of use, to the best of
            Plaintiff’s recollection):
 4
                    FACEBOOK
 5
                     Approximate dates of use: ___________________ to ___________________
 6
                 ✔ INSTAGRAM
 7
                                                 D017
                                                 2017                        DN9IN
                                                                             2020
 8                   Approximate dates of use: ___________________ to ___________________

 9               ✔ SNAPCHAT

10                                               D017
                                                 2017                        ONIN
                                                                             2020
                     Approximate dates of use: ___________________ to ___________________
11
                 ✔ TIKTOK
12                                               D012
                                                 2018                        DN9IN
                                                                             2020
                     Approximate dates of use: ___________________ to ___________________
13
                    YOUTUBE
14

15                   Approximate dates of use: ___________________ to ___________________

16                  OTHER:
17                    Social Media Product(s) Used              Approximate Dates of Use
18

19

20

21

22

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                                                                            MASTER SHORT-FORM COMPLAINT
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 1           D.     PERSONAL INJURY1
 2           12.   Plaintiff(s) experienced the following personal injury/ies alleged to have been
 3                 caused by Defendant(s)’ Social Media Products [Check all that apply]:




                                                   OOO
                              ‘s]
                           [J [4
                              Is]
                           7~—
 4                           ✔ ADDICTION/COMPULSIVE USE
                            [~~




                           [-
                           [-
 5                                 EATING DISORDER
 6                                            Anorexia
 7                                            Bulimia

 8                                            Binge Eating
                                              Other: _______________________
                            [8
                            [J
 9
                             ✔ DEPRESSION
                                      [s]
                                  Is] [s]


10
                             ✔ ANXIETY              ISCIIS]
                                  [s]




11
                             ✔ SELF-HARM
                                        OOO SSST

12

13                                          ✔ Suicidality

                                              Attempted Suicide
14
                                            ✔ Death by Suicide
15
                                            IS




                                                               cutting
                                            ✔ Other Self-Harm: ________________________
16                                   CHILD SEX ABUSE
17
                                     CSAM VIOLATIONS
18
                                     OTHER PHYSICAL INJURIES (SPECIFY):
19
                            ____________________________________________________________
20                          ____________________________________________________________
21                          ____________________________________________________________
22                          ____________________________________________________________

23                          ____________________________________________________________
                            ____________________________________________________________
24

25   1
       Plaintiff(s) must check-off all injuries allegedly caused by Plaintiff’s use of Defendant(s)’ Social
26   Media Products. Plaintiff is not required to plead here emotional or psychological injuries inherent
     in injuries otherwise identified, or all manifestations of the injury alleged which will be inquired
27   into as part of the Plaintiff’s Fact Sheet (“PFS”). This Short-Form Complaint assumes that
     emotional and psychological injuries are asserted by Plaintiff in connection with any injury
28   otherwise identified.
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 1   V.       CAUSES OF ACTION ASSERTED
 2            13.    The following Causes of Action asserted in the Master Complaint, and the
 3                   allegations with regard thereto, are adopted in this Short Form Complaint by




                       (LI_ISISI8)
                     reference (check all that are adopted):
 4
          Asserted Against2           Count  Cause of Action (CoA)
 5                                    Number

 6        ✔ Meta entities                 1      STRICT LIABILITY - DESIGN DEFECT
          ✔ Snap entity
                        OILTSISIs)
 7
          ✔ TikTok entities
 8           Google entities
             Other Defendant(s)
 9        ##___________________3
           ✔ Meta entities                2      STRICT LIABILITY - FAILURE TO WARN
10
           ✔ Snap entity
                OOS



11         ✔ TikTok entities
             Google entities
12           Other Defendant(s)
13        ##___________________
          ✔ Meta entities                 3      NEGLIGENCE - DESIGN
14        ✔ Snap entity
          ✔ TikTok entities
15
             Google entities
              LILI




16           Other Defendant(s)
          ##___________________
17        ✔ Meta entities                 4      NEGLIGENCE – FAILURE TO WARN
          ✔ Snap entity
                       LI_Isisis]




18
          ✔ TikTok entities
19           Google entities
             Other Defendant(s)
20        ##___________________
           ✔ Meta entities                5      NEGLIGENCE
21
           ✔ Snap entity
22         ✔ TikTok entities
             Google entities
23           Other Defendant(s)
24        ##___________________

25

26
     2
27     For purposes of this paragraph, “entity” means those defendants identified in Paragraph 7 (e.g.,
     “TikTok entities” means all TikTok defendants against which Plaintiff(s) is asserting claims).
     3
28     Reference selected Other Defendants by the corresponding row number in the “Other
     Defendant(s)” chart above, in Question 7.
                                                                              MASTER SHORT-FORM COMPLAINT
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                 HONS
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                 HONN
 1    ✔ Meta entities           6    NEGLIGENT UNDERTAKING
      ✔ Snap entity
 2
      ✔ TikTok entities




           's4sis
           4sisis
 3      Google entities


           4sisis
           USISIs
        Other Defendant(s)
           Lis}
 4   ##___________________
     ✔ Meta entities            7    VIOLATION OF UNFAIR TRADE
 5
     ✔ Snap entity                   PRACTICES/CONSUMER PROTECTION LAWS
                    LIS] L"

 6   ✔ TikTok entities
                         Li
                         L"



        Google entities              Identify Applicable State Statute(s):
 7                                                 Do geee et                        459AAN
               LIS} Lis}


        Other Defendant(s)           La.
                                      La. Rev. Stat. §
                                               om:
                                                     ss1405;
                                                         1405,Cal  Bus.i. &
                                                                et seq.   & Prof.,
                                                                            Prof., §
                                                                                -
                                                                                   § 17200
                                                                                      na

                                                                                     1720C
 8   ##___________________
      ✔ Meta entities           8    FRAUDULENT CONCEALMENT AND
 9      Other Defendant(s)           MISREPRESENTATION (Against Meta only)
      UU LIS} Lis}

        LILISISIs1
        LLIN)
        DUNN



     ##___________________
10
        WOO)




     ✔ Meta entities            9    NEGLIGENT CONCEALMENT AND
11      Other Defendant(s)           MISREPRESENTATION (Against Meta only)
     ##___________________
12   ✔ Meta entities           10    NEGLIGENCE PER SE
     ✔ Snap entity
13   ✔ TikTok entities
14      Google entities
        Other Defendant(s)
15   ##___________________
        Meta entities          11    VIOLATIONS OF 18 U.S.C. §§ 1595 and 1591 (Civil
16                                   Remedy for Sex trafficking of children or by force,
        Snap entity
17      TikTok entities              fraud, or coercion)
        Google entities
18      Other Defendant(s)
       Lt




     ##___________________
19
        Meta entities          12     VIOLATIONS OF 18 U.S.C. §§ 2255 and 2252 (Civil
20      Snap entity                  remedy Certain activities relating to material involving
            LOO




        TikTok entities              the sexual exploitation of minors)
     |




21      Google entities
22      Other Defendant(s)
     ##___________________
23      Meta entities          13     VIOLATIONS OF 18 U.S.C. §§ 2252A(f), 1466A
        Snap entity                  (Civil remedy for Certain activities relating to material
24      TikTok entities              constituting or containing child pornography)
25      Google entities
        Other Defendant(s)
26   ##___________________
27

28

                                                                   MASTER SHORT-FORM COMPLAINT
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                 OOOO WO
 1        Meta entities                       14       VIOLATIONS OF 18 U.S.C. §§ 2255 and 2252A(5)(b)
          Snap entity                                 (Civil remedy for Certain activities relating to material
 2                                                    constituting or containing child pornography)
          TikTok entities
 3        Google entities
          Other Defendant(s)
 4     ##___________________
          Meta entities                       15      VIOLATIONS OF 18 U.S.C. §§ 2258B and 2258A
 5
          Snap entity                                 (Liability related to Reporting requirements of providers
 6                      LILISISISI
          TikTok entities                             regarding online child sexual exploitation)
          Google entities
 7        Other Defendant(s)
 8     ##___________________
       ✔ Meta entities                        16      WRONGFUL DEATH
 9     ✔ Snap entity
                      CICISISIS




       ✔ TikTok entities
10        Google entities
11        Other Defendant(s)
       ##___________________
12      ✔ Meta entities                       17      SURVIVAL ACTION
        ✔ Snap entity
                       ILISIsis|




13      ✔ TikTok entities
14        Google entities
          Other Defendant(s)
15     ##___________________
        ✔ Meta entities                       18      LOSS OF CONSORTIUM AND SOCIETY
16
        ✔ Snap entity
17      ✔ TikTok entities
          Google entities
18        Other Defendant(s)
       ##___________________
19

20   VI.    ADDITIONAL CAUSES OF ACTION

21                                                        NOTE

22         If Plaintiff(s) wants to allege additional Cause(s) of Action other than those selected in paragraph 10,
           which are the Causes(s) of Action set forth in the Master Complaint, the facts supporting those
23         additional Cause(s) of Action, must be pled in a manner complying with the requirements of the
           Federal Rules of Civil Procedure. In doing so, Plaintiff(s) may attach additional pages to this Short-
24         Form Complaint.
25

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                                                                                       MASTER SHORT-FORM COMPLAINT
                                                          -8-                               CASE NO. 4:22-MD-03047-YGR
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 1          14. Plaintiff(s) assert(s) the following additional Causes of Action and supporting
                allegations against the following Defendants:
 2

 3         La.
           La. R.S. 9:2800.51, et seq.
               R.S. 9:2800.51,    seq. (Louisiana Products
                                                  Products Liability Act),
                                                           Liability Act),

 4         Premised
           Premised on products liability allegations
                                          allegations set forth
                                                          forth in
                                                                in the Master Complaint.
                                                                              Complaint.
 5

 6

 7

 8

 9          WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants and all such

10   further relief that this Court deems equitable and just as set forth in the Master Complaint, and any

11   additional relief to which Plaintiff(s) may be entitled.

12                                          JURY DEMAND

13          Plaintiff(s) hereby demand a trial by jury as to all claims in this action.

14

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                                                                                 MASTER SHORT-FORM COMPLAINT
                                                      -9-                             CASE NO. 4:22-MD-03047-YGR
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 1          By signature below, Plaintiff’s counsel hereby confirms their submission to the authority
 2   and jurisdiction of the United States District Court for the Northern District of California for
 3   oversight of counsel’s duties under Federal Rule of Civil Procedure11, including enforcement as
 4   necessary through sanctions and/or revocation of pro hac vice status.
 5
                                                     /s/ Laura Marquez-Garrett
 6
                                                       SOCIAL MEDIA VICTIMS LAW CENTER
 7                                                     Matthew P. Bergman
                                                       matt@socialmediavictims.org
 8                                                     Laura Marquez-Garrett (SBN 221542)
                                                       laura@socialmediavictims.org
 9                                                     Glenn S. Draper
10                                                     glenn@socialmediavictims.org
                                                       821 Second Avenue, Suite 2100
11                                                     Seattle, WA 98104
                                                       Ph: 206-741-4862
12
                                                       SEEGER WEISS LLP
13                                                     Christopher A. Seeger
                                                       cseeger@seegerweiss.com
14                                                     Christopher Ayers
                                                       cayers@seegerweiss.com
15                                                     Jennifer Scullion
                                                       jscullion@seegerweiss.com
16
                                                       55 Challenger Road
17                                                     Ridgefield Park, NJ 07660
                                                       Ph: 973-639-9100
18                                                     Facsimile: 973-679-8656

19                                                     Attorneys for Plaintiff(s)

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